Case 4:07-cv-05944-JST Document 1660-25 Filed 04/25/13 Page 1of 4

Exhibit 69
24

25

Case 4:07-cv-05944-JST Document 1660-25 Filed 04/25/13 Page 2 of 4

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

---o000---

In Re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

Plaintiff,
, Case No.
07-5944 Se
MDL No. 1917

This Document Relates to:

ALL ACTIONS,

eee eee ee ee

VIDEOTAPED DEPOSITION OF SAMUEL NASTO

WEDNESDAY, MAY 16, 2012

REPORTER: BALINDA DUNLAP, CSR 10710, RPR, CRR, RMR

Samuel Nasto

BARKLEY

Court Reporters

10:29 5

10:30 15

10:30 20

10:30 25

Case 4:07-cv-05944-JST Document 1660-25 Filed 04/25/13 Page 3 of 4

50-inch Sony Bravia, is a CRT TV, but you're not

positive; is that correct?

A. Correct.

QO. Do you have any other TVs at home?
A. Yes.

QO. What other TVs do you have?

A. I have a 32-inch Visio television.
Q. Is that a CRT TV?

A. I don't believe so.

Q. Why do you say that?

A. Because it is not big like the CRTs.
Q. It is a thin TV?

>

I am not a technology expert, so I am not
positive that it's not, but I believe just like the
other television that it is not, but I can't be
certain because I am not an expert.

QO. Do you still have that Panasonic 42-inch

TV at home?

A. I do not.
QO. What happened to that TV?
A. I had moved into a condo, and I just

didn't have room for it.

QO. When did you move to your condo?

A. 2005.

Q. And you have been in the same condo since
69

Samuel Nasto

BARKLEY

Court Reporters

10:47

10:48

10:48

10:48

10:48

Case 4:07-cv-05944-JST Document 1660-25 Filed 04/25/13 Page 4 of 4

how thick it was?
MS. RUSSELL: Objection; calls for
speculation.
THE WITNESS: Not in inches. I know --.-
no, I really can't. I don't recall what it is.
Q. BY MR. KIM: Do you know whether your
Panasonic TV has one CRT or multiple CRTs in it?
A. I have no idea.
Q. So you did not open the TV to try to find
out if there was a CRT or multiple CRTs?
A. That's right.
MS. RUSSELL: Objection; asked and
answered.
QO. BY MR. KIM: You reviewed technical
specifications, as you said, online; is that right?
A. Yes, sir.
QO. Did the technical specifications say
anything other than it is a CRT TV?
A. I don't remember what else, what the other
ones were.
QO. Do you know who manufactured the CRT or
CRTs in your TV?
A. I do not.
Q. Do you know how much Panasonic paid for

the CRT or CRTs in your TV?

83

Samuel Nasto

BARKLEY

a
Court Reporters

